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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

                                        )
    IN RE: JOHNSON & JOHNSON            )
    TALCUM POWDER PRODUCTS              )
    MARKETING, SALES PRACTICES AND )              MDL Docket No. 2738
    PRODUCTS LIABILITY LITIGATION       )
    ___________________________________ )
                                        )
    This Document Relates To All Cases  )
                                        )

      DEFENDANTS JOHNSON & JOHNSON AND JOHNSON & JOHNSON
        CONSUMER INC.’S MEMORANDUM OF LAW IN SUPPORT OF
         MOTION TO EXCLUDE PLAINTIFFS’ EXPERTS’ OPINIONS
               UNRELATED TO GENERAL CAUSATION

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          Plaintiffs seek to have four expert witnesses – Drs. Alan Campion, David

    Kessler, Laura M. Plunkett and April Zambelli-Weiner – offer various opinions

    that are not related to the fundamental and pertinent question at hand: whether talc

    is capable of causing ovarian cancer. Specifically:

              • Dr. Campion seeks to opine that Raman spectroscopy is a reliable
                technique for identifying talc particles in human tissues, including
                ovarian tissues;

              • Dr. Zambelli-Weiner seeks to opine that certain talc studies by Drs.
                Michael Huncharek and Jonathan Muscat were erroneous and
                industry-driven, and that the United States Food & Drug
                Administration’s (“FDA’s”) 2014 denial of a Citizen’s Petition
                seeking to require an ovarian cancer warning was improperly
                influenced by these studies;

              • Drs. Kessler and Plunkett both seek to opine about various legal and
                regulatory matters, such as the requirements of the FDA and whether
                the J&J defendants complied with them; and

              • Dr. Plunkett also seeks to opine on the reasonableness of the J&J
                defendants’ conduct and their purported influence on governmental
                bodies.

    These opinions should be excluded for multiple reasons.

          First, they are irrelevant to general causation, which is the subject of this

    Daubert proceeding. Whether Raman spectroscopy (or any other technique for

    that matter) is capable of identifying talc particles in human tissue does not speak

    to whether talc use is capable of causing ovarian cancer – and Dr. Campion

    testified at his deposition that he is not offering any causation opinion in this

    litigation. Dr. Zambelli-Weiner’s criticisms of the 2003 and 2007 Huncharek
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    studies are similarly irrelevant to the general causation question because none of

    defendants’ experts focus on these studies in reaching their conclusions. Nor does

    Zambelli-Weiner’s speculation about what impact Drs. Huncharek and Muscat had

    on the FDA’s response to the Citizen’s Petition have any bearing on what the peer-

    reviewed scientific literature actually says about whether talc use causes ovarian

    cancer. Finally, the regulatory opinions offered by Drs. Kessler and Plunkett, as

    well as Dr. Plunkett’s additional opinions regarding the J&J defendants’ alleged

    misconduct in attempting to “influence” regulatory bodies, also do not go to the

    question of general causation. Indeed, as Dr. Kessler makes clear in his report, the

    regulatory standards on which the experts’ opinions are based are “less stringent”

    than the standard for “proof of a causal association.”1 In short, these opinions are

    irrelevant to plaintiffs’ central theory of general causation and should therefore be

    excluded.

          Second, Drs. Campion and Zambelli-Weiner’s opinions are separately

    inadmissible because they are unreliable. Dr. Campion’s Raman spectroscopy

    opinion is unreliable because it was commissioned exclusively for litigation

    purposes. Prior to being approached by plaintiffs’ counsel in this litigation, Dr.

    Campion had no “interest in doing research,” which is why he had not authored a

    1
          (Expert Report of David A. Kessler, M.D. (“Kessler Rep.”) ¶ 68, Nov. 16,
    2018 (attached as Ex. C15 to Omnibus Certification of Julie Tersigni, Esq.
    (“Tersigni Cert.”)).)

                                              2
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 single paper in nearly a decade. All of that magically changed once plaintiffs’

 counsel met with Dr. Campion, who proceeded to publish a paper that purported to

 demonstrate his ability to identify talc particles in human tissue by way of Raman

 spectroscopy. That paper did not disclose that Dr. Campion and his co-author, Dr.

 John Godleski, were retained (and paid) to do the work by plaintiffs’ lawyers for

 purposes of talcum powder litigation. While this was Dr. Campion’s first venture

 into the talc litigation, Dr. Godleski has long been an expert for the plaintiffs,

 having written several reports, testified at multiple trials and been involved (and

 excluded) in the Kemp hearing before Judge Nelson C. Johnson. This backdrop

 lays bare that Dr. Campion’s opinion was generated with an eye towards financial

 gain rather than a genuine interest in breaking new ground on a scientific subject,

 calling the reliability of his testimony into serious question.

       Dr. Zambelli-Weiner’s opinion that the FDA’s 2014 denial of the Citizen’s

 Petition was “based on flawed data” is separately inadmissible because it is

 speculative and unreliable. Dr. Zambelli-Weiner baldly alleges that the FDA gave

 the Huncharek studies undue weight in its analysis, but ultimately admits that she

 actually has no idea what the FDA considered in its review of the evidence, or the

 weight it gave to various studies. And the FDA’s letter denying the Citizen’s

 Petition explicitly states that it conducted its own independent review of relevant




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 literature. Accordingly, Dr. Zambelli-Weiner’s opinion is based on nothing but her

 own ipse dixit, and is actually contradicted by the available evidence.

       Third, the Court should also independently exclude all of Dr. Kessler’s

 opinions and Dr. Plunkett’s non-causation opinions because these experts seek to

 opine on subjects that are not within the province of expert testimony. For starters,

 Drs. Kessler and Plunkett’s reports are replete with legal opinions, including

 citations to federal laws and FDA regulations, followed by bottom-line conclusions

 about whether the J&J defendants complied with those standards. Courts have

 previously barred these very experts from offering such quintessential legal

 opinions – including in other talc litigation. See generally Tentative Ruling

 Permitting Dr. Plunkett’s Opinions in Part, Lloyd v. Johnson & Johnson, No.

 BC628228 (JCCP No. 4872) (Cal. Super. Ct.) (Plaintiff Eva Echeverria only),

 appeal pending (“Plunkett Echeverria Ruling”) (attached as Ex. E17 to Tersigni

 Cert.) (excluding Plunkett’s testimony in part in a talc case brought on behalf of

 multiple plaintiffs); Newman by & through Newman v. McNeil Consumer

 Healthcare, No. 10 C 1541, 2013 WL 9936293, at *5 (N.D. Ill. Mar. 29, 2013)

 (precluding Plunkett from testifying about “what reporting requirements

 [d]efendants had under FDA regulations and whether [d]efendants met them”); In

 re Prograf Antitrust Litig., No. 1:11-md-02242-RWZ, 2014 WL 7641156, at *1-2




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 (D. Mass. Dec. 23, 2014) (“Dr. Kessler is not—and, indeed, cannot be—a legal

 expert. It is for the court alone to instruct the jury on what the law is.”).

       In addition, both Drs. Kessler and Plunkett seek to offer subjective

 summaries of litigation documents and deposition transcripts in the guise of expert

 opinions. This Court and others have held that such recitations of record evidence

 do not qualify as expert evidence because jurors are equipped to review the

 evidence and interpret it as they see fit. See, e.g., Bracco Diagnostics, Inc. v.

 Amersham Health, Inc., 627 F. Supp. 2d 384, 441 (D.N.J. 2009) (Wolfson, J.)

 (experts may not “simply summarize the facts and the depositions of others”)

 (citation omitted). And courts, including this one, have likewise repeatedly held

 that opinions (like Dr. Plunkett’s) seeking to divine a defendant’s state of mind are

 beyond the scope of permissible expert testimony and should be excluded because

 jurors are fully capable of determining the parties’ knowledge and intent based on

 evidence presented at trial. See Plunkett Echeverria Ruling at 6-7 (excluding

 Plunkett’s state-of-mind opinions); Strum v. DePuy Orthopaedics, Inc., No.

 2011L009352, 2013 WL 3242715, at *1 (Ill. Cir. Ct. Mar. 8, 2013) (similar);

 Bracco, 627 F. Supp. 2d at 440 (“[E]xperts cannot opine on intent.”).




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       For all of these reasons, discussed further below, the Court should exclude

 all of the opinions being offered by Drs. Campion, Zambelli-Weiner and Kessler,

 and the non-causation opinions offered by Dr. Plunkett.2

                                   BACKGROUND
       A.        Alan Campion, Ph.D.
       Dr. Campion, a professor of chemistry at the University of Texas, was

 retained by plaintiffs to opine about a technique that he claims can reliably identify

 the presence of talc particles in human tissues, including ovarian tissue.3 Dr.

 Campion defines Raman spectroscopy as “an inelastic light scattering technique

 that measures the vibrational frequencies of chemical bonds in molecules and

 solids,” providing, in his opinion, “definitive evidence of their identities and

 structures.”4

       The gist of Dr. Campion’s opinion is that he has purportedly “demonstrated

 the ability to unambiguously identify talc particles using Raman microscopy in a

 model system and in real tissue samples, prepared using standard surgical



 2
        Plunkett also seeks to “provide[] opinions on certain aspects of the cause and
 effect relationship” between exposure to talc and ovarian cancer. (See Dep. of
 Laura Plunkett, Ph.D. (“Plunkett Dep.”) 33:25-34:9, Dec. 19, 2018 (attached as Ex.
 B33 to Tersigni Cert.).) Those causation opinions are separately addressed in
 defendants’ General Causation brief.
 3
       (See Expert Report of Alan Campion, Ph.D. (“Campion Rep.”) at 4, Nov. 16,
 2018 (attached as Ex. C5 to Tersigni Cert.).)
 4
       (Id. at 2.)

                                            6
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 pathology laboratory protocols.”5 The supposed basis for that “ability” is a single

 article he authored with others (including Dr. John Godleski, an expert for

 plaintiffs in other talc litigation) that purports to identify talc in three separate

 samples.6 Dr. Campion does not attempt to connect this supposed “ability” to

 identify talc with Raman spectroscopy to the question of general causation; indeed,

 he has disclaimed any opinion on causation in this litigation.7

        Although Dr. Campion has been working with Raman spectroscopy for the

 duration of his career, it was not until the MDL plaintiffs’ lawyers approached him

 that he formulated an opinion that the technique can be extended to identify the

 presence of talc particles in human tissues.8 According to Dr. Campion’s own

 testimony, he was recommended as a potential expert in this litigation by his wife,

 Dr. Ellen Blair Smith, who is another expert for plaintiffs in this proceeding9 and

 has a four-decade friendship with one of plaintiffs’ lawyers.10 Dr. Campion could

 not have been clearer about his “novel” foray into the application of Raman



 5
        (Id. at 6.)
 6
        (See Ex. B. to Campion Rep.)
 7
        (See Dep. of Alan Campion, Ph.D. (“Campion Dep.”) 44:21-24, Jan. 9, 2019
 (attached as Ex. B1 to Tersigni Cert.); id. 45:2-4; id. 45:8-11; id. 67:11-14.)
 8
        (See id. 13:6-8.)
 9
        (Id. 32:9-12.)
 10
       (Dep. of Ellen Blair Smith, M.D. 13:10-13, Jan. 9, 2019 (attached as Ex.
 B11 to Tersigni Cert.).)
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 spectroscopy to talc, testifying that “[p]rior to this case,” he had never looked at

 any mineral through Raman spectroscopy – much less talc.11

        Upon being contacted by the lawyers from Beasley Allen, Dr. Campion

 proceeded to publish an article entitled Identification of Foreign Particles in

 Human Tissues using Raman Microscopy.12 The paper was Dr. Campion’s first

 published article in nine years – a long hiatus that he attributed to a loss of “interest

 in doing research.”13 The paper was funded exclusively with money from

 plaintiffs’ lawyers in this litigation and cost more than $190,000.14

       Notably, at least two of Dr. Campion’s co-authors – Dr. Godleski and Yuwei

 Fan – also serve as experts for plaintiffs in talcum powder litigation. Although the

 paper disclosed that “Alan Campion and John J. Godleski have served as

 consultants and provided expert testimony in talc and other environmental

 litigation,” it did not specify which “side [they are] on” in the litigation; nor did it

 specifically disclose that plaintiffs’ lawyers were actually funding the research


 11
        (Campion Dep. 50:8-21; see also, e.g., id. 68:7-13; Campion Rep. at 1
 (stating that he drew on claimed expertise in “developing novel experimental
 methods” to develop his opinion here) (emphasis added).)
 12
       (See Ex. B to Campion Rep.)
 13
       (See Campion Dep. 44:3-6.)
 14
        (See id. 103:20-23 (Q. “What sources of funding were there for this paper
 other than money from plaintiffs’ lawyers?” A. “None.”); id. 99:23-100:1 (Q.
 “And I’ve added it up and it’s over $190,000. Does that seem right?” A. “If
 you’ve added it up, that’s correct.”).)

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 being presented.15 Thus, as Dr. Campion effectively conceded, anyone reading the

 paper would not have a fair opportunity to assess any potential bias arising out of

 his financial arrangement with plaintiffs’ counsel.16

       B.      David Kessler, M.D., J.D.
       Dr. Kessler – a former commissioner of the FDA and now a mainstay

 litigation expert for plaintiffs in pharmaceutical litigation17 – has “not been asked

 to opine on the scientific evidence concerning an association between the use of

 talcum powder products and ovarian cancer.”18 Rather, his opinions “focus on the

 responsibilities of cosmetic manufactures, focusing on the regulatory interface

 between cosmetic manufacturers and the FDA, as well as industry standards.”19

       Specifically, Dr. Kessler purports to lay out the various regulatory standards

 for cosmetics, including – for example, that “[e]ach ingredient used in a cosmetic

 15
       (Id. 165:3-20, 200:4-9.)
 16
        (See id. 168:14-19; see also id. 200:4-9 (Q. “Did you disclose to the journal
 in which you published your publication that your research was funded by
 plaintiffs’ lawyers?” A. “No.”).)
 17
         As Dr. Kessler recently testified in an unrelated trial, of the 28 different
 litigations he has been involved in as an expert, he has testified on behalf of the
 plaintiff in 24 of those proceedings. See Trial. Tr. 134:10-21, Russell v. Janssen
 Research & Dev. LLP, No. 150500362 (Phila. Ct. Comm. Pls. Apr. 12, 2018)
 (attached as Ex. E30 to Tersigni Cert.). Moreover, in every litigation in which he
 has been asked to opine on the adequacy of a label, he has claimed that the label is
 inadequate. Id. 136:16-137:19. These statistics highlight the one-sided nature of
 Dr. Kessler’s approach to product-liability litigation.
 18
       (Kessler Rep. ¶ 12.)
 19
       (Id.)

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 product and each finished cosmetic product shall be adequately substantiated for

 safety prior to marketing”;20 that “[a]ny such ingredient or product whose safety is

 not adequately substantiated prior to marketing is misbranded”;21 that a cosmetic

 label “shall bear a warning statement whenever necessary or appropriate to prevent

 a health hazard that may be associated with the product”;22 and that a cosmetic is

 adulterated if it contains “any poisonous or deleterious substance which may

 render it injurious to users.”23

       It is Dr. Kessler’s opinion that “consistent with [these] FDA regulations and

 statutes, a cosmetic manufacturer . . . must assure the safety of [its] ingredients.”24

 Dr. Kessler also quotes at length from various internal company documents that

 supposedly support the notion that “cosmetic manufacturers have responsibility to

 substantiate the safety of their product.”25 According to Dr. Kessler, “in light of a)

 the FDA’s 2014 petition response acknowledging that there remains some

 evidence to suspect or question the safety of talcum powder products, b) the

 medical literature since 2014 that continues to raise safety questions; and c)

 IARC’s classification, defendants failed to substantiate the safety of their talcum
 20
       (Id. ¶ 14 (alteration in original) (quoting 21 C.F.R. § 740.10).)
 21
       (Id. ¶ 15 (alteration in original) (quoting 21 C.F.R. § 740.10).)
 22
       (Id. ¶ 17 (quoting 21 C.F.R. § 740.10).)
 23
       (Id. ¶ 19 (quoting 21 U.S.C. § 361).)
 24
       (Id. ¶ 40.)
 25
       (Id. § C (emphasis omitted); id. ¶¶ 42-50.)

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 powder products.”26 Dr. Kessler also claims that defendants’ talcum powder

 products should have contained a warning that their safety had not been

 determined.27

       Despite attempting to enumerate various regulatory standards governing

 cosmetic products, Dr. Kessler nonetheless seeks to opine that “of all the products

 that fall under FDA’s jurisdiction, cosmetics are among the least regulated. This is

 reflected in the fact that there is no premarket approval of cosmetic products.”28

 He also claims that “only very limited resources have ever been committed to

 cosmetic product review, monitoring, or safety.”29

       C.     Laura Plunkett, Ph.D.
       Dr. Plunkett is a litigation pharmacologist who also purports to be a

 toxicologist.30 In a section of her report purportedly addressing “[t]he [r]egulatory

 [p]rocess in the United States” for “[t]alcum [p]owder [p]roducts,”31 Dr. Plunkett

 selectively quotes and interprets the federal Food, Drug & Cosmetic Act

 (“FDCA”) and its implementing regulations, which she recognizes are designed “to


 26
       (Id. ¶ 64.)
 27
       (Id. ¶ 65.)
 28
       (Id. ¶ 20.)
 29
       (Id. ¶ 21.)
 30
       (Expert Report of Laura M. Plunkett, Ph.D., D.A.B.T. (“Plunkett Rep.”) ¶ 1,
 Nov. 16, 2018 (attached as Ex. C28 to Tersigni Cert.).)
 31
       (Id. § III.)

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 ensure that cosmetics are not ‘adulterated’ and ‘misbranded.’”32 She also opines

 on the enforcement methods available to the FDA in the area of cosmetics, noting

 what she characterizes as the general “constraints on FDA’s authority” and the

 FDA’s “general lack of regulatory oversight” related to cosmetics.33 According to

 Plunkett, “FDA’s authority over cosmetics is less comprehensive than its authority

 over other FDA-regulated products with regard to GMP; premarket notification;

 clearance, or approval; testing; and mandatory risk labeling.”34

       These opinions serve as the basis for Dr. Plunkett’s conclusion that talc-

 based body powders should carry an ovarian cancer warning.35 Notably, just like

 Dr. Kessler, Dr. Plunkett recognizes that the standard for including a warning on

 cosmetic products is “based on a standard of a possibility of health hazard, not on

 having evidence of a causal association between a health effect and the cosmetic

 product or ingredient.”36




 32
       (Id. ¶¶ 18-19 (characterizing the FDCA and the Fair Packaging and Labeling
 Act and some requirements of those laws).)
 33
       (Id. ¶¶ 24-27.)
 34
       (Id. ¶ 16 (citation omitted).)
 35
        (Id. ¶¶ 27, 102; see also id. ¶ 105 (relying on 21 C.F.R. § 740.1(a) in opining
 that “a warning about serious tissue toxicity and the increased risk of ovarian
 cancer with use of talcum powder products should have been included on the
 product labeling”).)
 36
       (Id. ¶ 22 (emphases added).)

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       Plunkett also devotes a significant portion of her report to the supposed

 “[r]ole of [i]ndustry in [t]alcum [p]owder [p]roduct [s]afety [a]ssessments.”37 This

 section of her report consists of a narrative description of a cherry-picked set of

 defendants’ internal documents that she contends support the conclusion that

 “defendants worked both individually and collaboratively to present a uniform

 position to regulators, the scientific and medical community, and consumers, that

 talcum powder product use did not present a risk of ovarian cancer in humans.”38

 Rather than offering expert analysis on this topic, Dr. Plunkett seeks merely to

 testify as to the contents of the documents that she cites and describes.39

       D.     April Zambelli-Weiner, Ph.D.
       Dr. Zambelli-Weiner admittedly does not plan to testify about the core issue

 at this stage of the litigation: whether the “use of Johnson’s Baby Powder or

 Shower to Shower causes ovarian cancer.”40 Rather, she opines that two studies by


 37
       (Id. § VII; id. ¶¶ 76-100.)
 38
        (Id. ¶ 76; see also id. ¶ 78 (“[I]n the 1970s, documents show that Johnson &
 Johnson made efforts to influence the science around the issue of asbestos in talc
 and the link of talc with ovarian cancer . . . .”); id. ¶ 79 (attempting to describe “the
 role of the [Cosmetic Ingredient Review panel] in cosmetic safety assessments”);
 id. ¶ 80 (similar); id. ¶ 83 (“Together with Johnson & Johnson and Imerys, PCPC
 coordinated and presented a position to regulators and the medical community that
 talc was safe. This position was presented regardless of significant evidence to the
 contrary.”).)
 39
       (See id. ¶¶ 76-100.)
 40
       (Dep. of April Zambelli-Weiner, Ph.D. Vol. I (“Zambelli-Weiner Dep.”)
 46:18-22, Jan. 11, 2019 (attached as Ex. B3 to Tersigni Cert.).)

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 Dr. Huncharek – a 2003 meta-analysis on perineal talc use (co-authored by Dr.

 Huncharek and others but not Dr. Muscat) and a 2007 meta-analysis on talc use on

 diaphragms (co-authored by Dr. Huncharek, Dr. Muscat and others) (together the

 “2003 and 2007 Huncharek studies”)41 – “contain substantial errors.”42 The

 alleged errors include “misstatements of underlying data, improper calculations,

 and [a failure to] utilize generally accepted methodologies and best practices in

 epidemiology[,] . . . rendering the findings flawed and unreliable.”43 Dr. Zambelli-

 Weiner argues that the “[t]alc industry” (i.e., defendants) “heavily relied on” the

 2003 and 2007 Huncharek studies in a report submitted to the FDA in 2009 (the

 “2009 report”), in response to the FDA’s request for comments on a Citizen’s

 Petition seeking to require an ovarian cancer warning label on talc products.44

       The FDA denied the Citizen’s Petition in 2014 because it “did not find that

 the data submitted presented conclusive evidence of a causal association between

 41
       Huncharek et al., Perineal Application of Cosmetic Talc and Risk of Invasive
 Epithelial Ovarian Cancer: A Meta-Analysis of 11,933 Subjects from Sixteen
 Observational Studies, 23 Anticancer Res. 1955 (2003) (attached as Ex. A67 to
 Tersigni Cert.); Huncharek et al., Use of Cosmetic Talc on Contraceptive
 Diaphragms and Risk of Ovarian Cancer: A Meta-Analysis of Nine Observational
 Studies, 16 Eur J Cancer Prev. 422 (2007) (attached as Ex. A68 to Tersigni Cert.).
 42
       (Expert Report of April Zambelli-Weiner, Ph.D., M.P.H. (“Zambelli-Weiner
 Rep.”) at 6-7, Nov. 16, 2018 (attached as Ex. C8 to Tersigni Cert.).)
 43
       (Id.)
 44
        (Id. at 7-8 (“these articles and the analyses in them were a primary focus of
 the arguments advanced by the talc industry in opposition to a mandatory cancer
 warning”).)

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 talc use in the perineal area and ovarian cancer.”45 Dr. Zambelli-Weiner believes

 that this determination was invalid because it was based on “flawed data” – i.e., the

 2009 report, which discussed the 2003 and 2007 Huncharek studies.46 Specifically,

 she argues that the 2003 and 2007 Huncharek studies “assumed added importance

 from a regulatory and policy perspective due to the fact that the authors attributed

 added weight to [them] . . . in advocating them to the FDA in 2009.”47 She

 ultimately opines that “[a]ny scientific, regulatory or policy deliberations or

 decisions, including but not limited to those undertaken and issued by the FDA,

 that relied upon the data and analyses put forward by Drs. Huncharek and Muscat,

 in whole or in part, are based on flawed data, calculations and conclusions.”48

                                    ARGUMENT

       The opinions being offered by Drs. Campion, Kessler, Plunkett and

 Zambelli-Weiner should be excluded for multiple reasons: (1) they are irrelevant

 to the fundamental question of general causation presently being considered by this

 Court; (2) Dr. Campion’s opinion is unreliable in light of the fact that it is based


 45
       Letter from Steven M. Musser, Ph.D., Deputy Dir. for Sci. Operations, Ctr.
 for Food Safety & Applied Nutrition, to Samuel S. Epstein, M.D., Cancer Prev.
 Coalition, Univ. of Ill. – Chi. School of Pub. Health, at 1 (Apr. 1, 2014) (“FDA
 Denial Letter”) (attached as Ex. A89 to Tersigni Cert.).
 46
       (Zambelli-Weiner Rep. at 7.)
 47
       (Id. at 9.)
 48
       (Id. at 7.)

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 entirely on research funded by plaintiffs’ counsel in this litigation and was

 expressly developed for litigation; (3) Dr. Zambelli-Weiner’s opinion regarding the

 FDA’s review of evidence is unreliable speculation; and (4) Dr. Kessler’s opinions

 and Dr. Plunkett’s non-causation-related opinions would not qualify as proper

 expert testimony even if relevant.

 I.    DRS. CAMPION, KESSLER AND ZAMBELLI-WEINER’S
       OPINIONS, AND MANY OF PLUNKETT’S OPINIONS, LACK THE
       REQUISITE FIT WITH PLAINTIFFS’ THEORY OF GENERAL
       CAUSATION.

       Under Rule 702, the opinions of an expert witness are only admissible if

 they “help the trier of fact to understand the evidence or to determine a fact in

 issue.” Fed. R. Evid. 702(a). As the Supreme Court has explained, this

 “‘helpfulness’ standard requires a valid scientific connection to the pertinent

 inquiry as a precondition to admissibility.” Daubert v. Merrell Dow Pharm., Inc.,

 509 U.S. 579, 591-92 (1993); see also Soldo v. Sandoz Pharm. Corp., 244 F. Supp.

 2d 434, 527 (W.D. Pa. 2003) (“The ‘fit’ requirement stems from the instruction of

 Federal Rule of Evidence 702 that proffered expert testimony must ‘assist . . . the

 trier of fact.’”). “The consideration has been aptly described . . . as one of ‘fit,’”

 which “goes primarily to relevance.” Daubert, 509 U.S. at 591 (citation omitted).

       Consistent with this principle, where an expert’s opinion does “not fit the

 central question at issue in the case,” her opinion is properly excluded. Buzzerd v.

 Flagship Carwash of Port St. Lucie, Inc., 397 F. App’x 797, 800 (3d Cir. 2010)

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 (affirming exclusion of expert’s opinion that there were pathways through which

 carbon monoxide might have reached the passenger cabin because “the central

 issue that the jury would have been called upon to decide in the case was . . .

 ‘whether it is probable that vehicle emissions would enter the passenger

 compartment under operating conditions’”; thus, expert’s “testimony did not fit the

 central question at issue in the case”) (citation omitted); see also, e.g., In re Human

 Tissue Prods. Liab. Litig., 582 F. Supp. 2d 644, 668 (D.N.J. 2008) (excluding

 opinion from expert that “fails to fit the challenged general causation at issue in the

 case”); Hall v. Baxter Healthcare Corp., 947 F. Supp. 1387, 1407 (D. Or. 1996)

 (“[T]o the extent that plaintiffs intended to use Dr. Swan’s testimony to support

 their argument that silicone breast implants can cause ACTD, I have already ruled

 that no testimony regarding ACTD will be permitted. Therefore, Dr. Swan’s

 testimony is now a stepping stone that leads nowhere; it no longer ‘fits’ plaintiffs’

 case.”); Soldo, 244 F. Supp. 2d at 564 (excluding expert’s causation opinion for

 lack of fit where the plaintiff’s theory was that a prescription drug caused

 intracranial hemorrhagic stroke and the expert’s causation theory was focused on

 ischemic stroke, a different kind of stroke); In re LIBOR-Based Fin. Instruments

 Antitrust Litig., 299 F. Supp. 3d 430, 542 (S.D.N.Y. 2018) (concluding that, where

 the plaintiffs “never alleged an entitlement to recover for damages incurred as a




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 result of macroeconomic events,” expert opinions that purported to measure such

 damages did not fit the case and would not be considered).

       All of Drs. Campion, Kessler and Zambelli-Weiner’s opinions, and many of

 Dr. Plunkett’s opinions, are irrelevant to plaintiffs’ general causation theory, and

 therefore inadmissible, for the following reasons.

       Dr. Campion. As explained above, Dr. Campion seeks to opine that

 “Raman spectroscopy is a reliable and unambiguous method for identifying talc

 and asbestos bodies in human tissue as well as in inorganic materials.”49 But the

 ability to identify such minerals says nothing about whether talc (or any asbestos

 in talc) is capable of causing ovarian cancer, which is the question presently at

 issue. Dr. Campion effectively conceded as much at his deposition, testifying that

 he did not know whether the talc particles in the ovarian sample examined in the

 paper “got there through” perineal talc use as opposed to some other source.50

 Similarly, Dr. Campion was clear that he had “absolutely no idea” of the baseline

 amount of talc in a person’s cells without the use of talc – much less whether the

 talc in the ovarian cells that were used in the paper was above or below that

 baseline.51



 49
       (Campion Rep. at 6.)
 50
       (See Campion Dep. 80:13-19.)
 51
       (Id. 81:2-10 (emphasis added).)

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       Moreover, when asked whether he would be offering an opinion on disease

 causation in this litigation, Dr. Campion definitively answered no and added that

 he did not “know how [he] could.”52 Nor was Dr. Campion aware of any plans to

 use the techniques set forth in his paper and report on actual slides from actual

 plaintiffs in the talc MDL proceeding.53 In short, Dr. Campion’s opinion has

 nothing to do with the fundamental question of general causation and should

 therefore be excluded.

       Dr. Zambelli-Weiner. Dr. Zambelli-Weiner’s opinions are also irrelevant to

 the issue of general causation. Dr. Zambelli-Weiner opines that the FDA

 considered “flawed data” – specifically the 2009 report, which discussed the 2003

 and 2007 Huncharek studies – in denying the Citizen’s Petition in 2014.54 But

 even assuming, arguendo, that Dr. Zambelli-Weiner’s criticisms of these studies

 were correct, the idea that the FDA might have relied in part on erroneous data in

 2014 says nothing about whether the comprehensive talc literature itself supports

 an inference that talc use causes cancer.

       Moreover, Dr. Zambelli-Weiner’s criticisms of the 2003 and 2007

 Huncharek studies, although detailed, are likewise ultimately irrelevant. For one

 thing, Dr. Zambelli-Weiner’s criticisms of the 2003 and 2007 Huncharek studies

 52
       (Id. 44:24-45:1; see also id. 45:2-11 (similar).)
 53
       (See id. 117:3-17.)
 54
       (Zambelli-Weiner Rep. at 7.)

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 are irrelevant because her own reanalysis of the data in those studies failed to

 generate materially different results. Most notably, Dr. Zambelli-Weiner attacks

 the 2003 study’s conclusion that its data showed no dose response, but her

 reanalysis of the data likewise showed no dose response.55 Similarly, Dr.

 Zambelli-Weiner attacks the 2007 study’s conclusion that its data did not show an

 increased risk of ovarian cancer from use of talc on diaphragms, but her reanalysis

 of those data resulted in an even lower risk estimate than the one reported in the

 study.56 Dr. Zambelli-Weiner’s failure to invalidate these findings is unsurprising,

 since as set forth in defendants’ General Causation brief, the broader talc literature

 does not show a dose response or an association between talc use on diaphragms




 55
        Table 2 in Dr. Zambelli-Weiner’s report sets forth her results from
 reanalyzing the data from the 2003 Huncharek study using multiple data
 aggregation methodologies. (Zambelli-Weiner Rep. at 20 tbl. 1.) The 2003 study
 had reported finding no dose response based on a 1.83 odds ratio for the lowest
 exposure category versus a 1.21 odds ratio for the highest category. (Id.) Dr.
 Zambelli-Weiner claims that she was unable to regenerate the 1.83 figure (id. at
 19), but nevertheless, the data in her table continue to show (in nearly all instances)
 a lower odds ratio for the higher-exposure group (id. at 20; see also Expert Report
 of Karla Ballman, Ph.D. (“Ballman Rep.”) at 35, Feb. 25, 2019 (attached as Ex.
 C25 to Tersigni Cert.) (explaining that Dr. Zambelli-Weiner’s reanalysis produced
 “different estimates of the risk ratios but still did not provide evidence of a dose-
 response relationship”)).
 56
         (See Zambelli-Weiner Rep. at 29 tbl. 4 (table setting forth results of
 reanalysis of data in 2007 Huncharek study, reporting non-significant odds ratios
 of 0.88 and 0.74 based on multiple aggregation techniques; compare with non-
 significant 1.03 odds ratio reported in 2007 study).)

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 and ovarian cancer, meaning that excluding the 2003 and 2007 Huncharek studies

 from review, as Dr. Zambelli-Weiner recommends, would change nothing.

       This is all the more so in light of the fact that defendants’ experts address the

 2003 and 2007 Huncharek studies, at most, in passing and instead rely on the

 overall body of literature.57 Moreover, several of defendants’ experts acknowledge

 Dr. Zambelli-Weiner’s criticisms of the 2003 and 2007 Huncharek studies but

 point out that these issues did not affect the studies’ ultimate conclusions, as

 explained above.58 And none of defendants’ experts relies on the 2009 report.59

       For all of these reasons, Dr. Zambelli-Weiner’s opinions are irrelevant to the

 question of general causation.

       Drs. Kessler and Plunkett. The proposed testimony from Drs. Kessler and

 Plunkett is similarly irrelevant to this general causation proceeding. As Dr.

 57
        Several of defendants’ experts cite a different meta-analysis by Drs.
 Huncharek and Muscat that Dr. Zambelli-Weiner does not criticize. (See, e.g.,
 Expert Report of Gregory Diette, M.D., M.H.S. (“Diette Rep.”), Feb. 25, 2019
 (attached as Ex. B26 to Tersigni Cert.) (citing Muscat & Huncharek, Perineal Talc
 Use and Ovarian Cancer: A Critical Review, 17(2) Eur J Cancer Prev. 139, 144-45
 (2008)).)
 58
        (Ballman Rep. at 35; Diette Rep. at 14 n.51; Expert Report of Christian
 Merlo, M.D., M.P.H. at 28 n.62, Feb. 25, 2019 (attached as Ex. C13 to Tersigni
 Cert.).)
 59
       Dr. Tuttle mentions the 2011 publication of the 2009 report in passing,
 noting both that it was published and that it “conclude[d] that the available
 epidemiological studies do not support a causal association” between perineal talc
 use and ovarian cancer, but the publication does not play any significant role in her
 opinions. (Expert Report of Kelly Scribner Tuttle, Ph.D., C.I.H. at 26, Feb. 25,
 2019 (attached as Ex. C26 to Tersigni Cert.).)

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 Kessler’s report explains, his “opinions . . . focus on the responsibilities of

 cosmetic manufacturers” – specifically, “the regulatory interface between cosmetic

 manufacturers and the FDA, as well as industry standards.”60 In other words,

 while Dr. Kessler attempts to “address the duties of cosmetic manufacturers to

 warn in the face of a potential health hazard,” he “ha[s] not been asked to opine on

 the scientific evidence concerning an association between the use of talcum

 powder products and ovarian cancer,”61 which is the pertinent causal theory at

 issue in this case. And although Dr. Plunkett offers a range of causation-related

 opinions – which should be excluded for a host of reasons, as set forth in

 defendants’ General Causation brief – she also offers a series of highly irrelevant

 opinions regarding regulations applicable to cosmetic manufacturers and her

 bottom-line conclusion that “a warning about serious tissue toxicity and the

 increased risk of ovarian cancer with use of talcum powder products should have

 been included on the product labeling.”62

       Notably, Dr. Kessler expressly states that the “regulatory standard” for

 warning about a potential health hazard “is less stringent than proof of a causal

 association.”63 Dr. Plunkett is similarly emphatic in distinguishing the standard

 60
       (Kessler Rep. ¶ 12.)
 61
       (Id. (emphasis added).)
 62
       (Plunkett Rep. ¶ 105 (relying on 21 C.F.R. § 740.1(a)).)
 63
       (Kessler Rep. ¶ 68 (emphases added).)

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 governing warnings from that applicable to causation, stating that “[c]ause and

 effect do not have to be proven for such a warning to be put into place.”64

       These fundamental distinctions between regulatory standards and the sort of

 proof required for establishing causation make perfect sense. Regulatory agencies

 employ a risk-utility analysis that is distinct from the scientific standard demanded

 by a court of law. Rider v. Sandoz Pharm. Corp., 295 F.3d 1194, 1201 (11th Cir.

 2002). By contrast, courts are “required by the Daubert trilogy to engage in

 objective review of evidence to determine whether it has sufficient scientific basis

 to be considered reliable.” Id. (“The district court did not abuse its discretion in

 concluding that the FDA actions do not, in this case, provide scientific proof of

 causation.”); see also, e.g., Glastetter v. Novartis Pharm. Corp., 252 F.3d 986, 991

 (8th Cir. 2001) (per curiam) (government agencies employ a preventative

 perspective that is aimed at reducing public exposure, which requires a lesser

 showing of harm than the preponderance of the evidence standard); Soldo, 244 F.

 Supp. 2d at 513 (“FDA decision-making is based on a different standard than tort

 law-based scientific proof of causation.”); In re Zicam Cold Remedy Mktg., Sales

 Practices, & Prods. Liab. Litig., No. 09-md-2096-PHX-FJM, 2011 WL 798898, at

 *11 (D. Ariz. Feb. 24, 2011) (“[A]gency actions are not the result of a Daubert
 64
       (Plunkett Rep. ¶ 118; see also id. ¶ 22 (standard for including a warning on
 cosmetic products is “based on a standard of a possibility of health hazard, not on
 having evidence of a causal association between a health effect and the cosmetic
 product or ingredient.”) (emphases added).)

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 level of scrutiny, but rather reflect the agency’s purpose to protect the ‘public-at-

 large from risk of harm based on a risk-utility analysis of the drug.’ This risk-

 utility approach employs a lower standard than a scientific causation approach

 requires.”) (citation omitted). In short, regulatory standards are no substitute for

 the scientific causation standard required by a court of law.

       Drs. Kessler and Plunkett’s opinions regarding the FDA’s supposedly

 “limited oversight of cosmetics products” and their claim that such regulation “is

 less stringent than the regulation of drugs, medical devices, and food additives,”65

 are even less relevant to the question of causation. After all, even assuming that

 these opinions are valid, they say nothing about whether talcum powder products

 are capable of causing ovarian cancer.

       The same is true with respect to Dr. Plunkett’s opinions regarding the “[r]ole

 of [i]ndustry in [t]alcum [p]owder [p]roduct [s]afety [a]ssessments.”66 These

 opinions all boil down to Dr. Plunkett’s subjective assertion that defendants sought




 65
       (Kessler Rep. ¶¶ 22, 34; see also Plunkett Rep. ¶¶ 24-27 (opining about
 “constraints on FDA’s authority” and “general lack of regulatory oversight” over
 cosmetics).)
 66
       (Plunkett Rep. § VII; id. ¶¶ 76-100.)

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 to “influence” the regulation of talc67 – which does not remotely speak to the

 question whether talc is capable of causing ovarian cancer.68

       In sum, these opinions by Drs. Campion, Kessler, Plunkett and Zambelli-

 Weiner all “fail[] to fit the challenged general causation at issue in the case,” In re

 Human Tissue, 582 F. Supp. 2d at 668 – i.e., whether perineal talc use can cause

 ovarian cancer. Instead, they are essentially “a stepping stone that leads nowhere”

 and therefore should be excluded. Hall, 947 F. Supp. at 1407. For this reason

 alone, the Court should exclude Dr. Campion’s opinion, all of Dr. Zambelli-

 Weiner and Dr. Kessler’s opinions, and all of Dr. Plunkett’s opinions regarding

 67
       (See id. ¶ 93.)
 68
        If evidence of purported efforts to influence regulators were relevant, the
 same would be true of the far more recent (indeed, ongoing) and direct efforts by
 plaintiffs’ experts to influence the regulatory process in Canada. In particular,
 after she was deposed, Dr. McTiernan sent a submission to Health Canada in
 February 2019 (see Email Submission of Anne McTiernan, M.D., Ph.D. to Health
 Canada, Feb. 5, 2019 (attached as Ex. F1 to Tersigni Cert.)), and subsequent
 correspondence indicates the possibility of further “phone calls, email exchanges,
 or even short term contracts” (see Email Exchange between Anne McTiernan,
 M.D., Ph.D. and Scott Hancock, Health Canada, Feb. 21, 2019 (attached as Ex. F3
 to Tersigni Cert.)). Dr. Siemiatycki also submitted his opinions to Health Canada
 after he was deposed and carried on an extended correspondence that included
 providing the regulator with his MDL report. (See Letter from Jack Siemiatycki,
 M.Sc., Ph.D. to Health Canada, Feb. 6, 2019 (attached as Ex. F2 to Tersigni Cert.);
 Email Exchange between Jack Siemiatycki, M.Sc., Ph.D. and Scott Hancock,
 Health Canada, Mar. 2019 (attached as Ex. F5 to Tersigni Cert.).) And Dr. Saed
 recently emailed Health Canada regarding his made-for-litigation manuscript
 without so much as mentioning his role as a paid expert. (See Dep. of Ghassan
 Saed, Ph.D. Vol. 2 533:16-535:23, 564:2-6, Feb. 14, 2019 (attached as Ex. B19 to
 Tersigni Cert.); Email Exchange between Ghassan Saed, Ph.D. and Scott Hancock,
 Health Canada (Feb.-Mar. 2019) (attached as Ex. F4 to Tersigni Cert.).)

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 regulatory matters and defendants’ supposed “influence” with regard to the

 regulation of talc.

 II.   DR. CAMPION’S ENTIRE OPINION AND DR. ZAMBELLI-
       WEINER’S OPINION ABOUT THE BASIS FOR THE FDA’S
       PETITION DENIAL ARE UNRELIABLE AND INADMISSIBLE.

       Even if Dr. Campion’s opinion regarding Raman spectroscopy and Dr.

 Zambelli-Weiner’s opinions regarding the FDA’s petition denial had any relevance

 to the question of general causation, they would still be inadmissible because they

 are unreliable.

       A.     Dr. Campion’s Opinion Is Unreliable Because It Is Based Entirely
              On Research Bankrolled By Plaintiffs’ Counsel.

       Dr. Campion’s opinion should also be excluded because his research was

 bought and paid for by plaintiffs’ counsel. “[C]lose judicial analysis of expert

 testimony is necessary ‘because expert witnesses are not necessarily always

 unbiased scientists.’” Nelson v. Tenn. Gas Pipeline Co., 243 F.3d 244, 252 (6th

 Cir. 2001) (citation omitted). Thus, an “expert’s motivation for his/her study and

 research is important” in gauging the overall reliability of an expert’s ultimate

 opinions. Soldo, 244 F. Supp. 2d at 527-28 (citation omitted). When that

 motivation is primarily financial in nature, there is a significant danger that

 pecuniary interests rather than genuine science is driving that research. See Braun

 v. Lorillard Inc., 84 F.3d 230, 235-36 (7th Cir. 1996) (referring to “abuse” of

 hiring scientists “to testify for a fee to propositions that they have not arrived at

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 through the methods that they use when they are doing their regular professional

 work”); see also Nelson, 243 F.3d at 252 (“[T]he magistrate did not abuse his

 discretion by . . . concluding that ‘the fact that the study was . . . funded by

 plaintiffs’ counsel does not militate in Dr. Kilburn’s favor.’”) (citation omitted).

       Such is the case here. Prior to being contacted by plaintiffs’ lawyers in this

 litigation (apparently at the urging of Dr. Campion’s wife, another expert for

 plaintiffs’ counsel in this litigation), Dr. Campion had little “interest in doing

 research.”69 Such a sentiment explains why Dr. Campion had not authored a single

 paper in the nine years before he was asked to serve as an expert in this litigation.70

 Nonetheless, armed with funding exclusively from plaintiffs’ lawyers in this case,

 Dr. Campion proceeded to write a paper with another expert for plaintiffs in the

 talc litigation, Dr. Godleski, and a few others, that purportedly “demonstrated

 [their] ability to obtain high quality Raman spectra of talc particles embedded in

 real tissue samples.”71 Dr. Campion so proceeded even though he had never

 looked at talc through Raman spectroscopy prior to his lawyer-funded

 experiment.72 These circumstances strongly suggest that the research underlying

 Dr. Campion’s opinion in this litigation was fueled by a pecuniary interest, as

 69
       (Campion Dep. 44:3-6.)
 70
       (Id.)
 71
       (Campion Rep. at 4; Campion Dep. 103:2-23.)
 72
       (See Campion Dep. 68:7-13.)

                                            27
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 opposed to a genuine quest for the scientific truth, fatally undermining the

 reliability of his ultimate opinion.

       Such a conclusion is all the more warranted given that the paper underlying

 Dr. Campion’s expert report does not adequately disclose that it was funded by the

 plaintiffs’ lawyers in this proceeding. See In re Garlock Sealing Techs., LLC, 504

 B.R. 71, 79 (Bankr. W.D.N.C. 2014) (finding expert’s studies unreliable in part

 because “[t]he materials used in the studies were provided with funding by

 plaintiffs’ attorneys, but that fact was not disclosed”). To be sure, the paper states

 under a heading titled “Notes” that “Alan Campion and John. J. Godleski have

 served as consultants and provided expert testimony in talc and other

 environmental litigation.”73 However, as Dr. Campion fully acknowledged at his

 deposition, that generic disclosure did not even remotely indicate which “side [they

 were] on”; nor did it purport to disclose that the research presented was being

 funded by plaintiffs’ lawyers in litigation.74 As Dr. Campion further conceded, the

 lack of such basic disclosures effectively forecloses “the reader” from “hav[ing] an

 opportunity to evaluate th[e] potential bias that [he] w[as] being paid by a law firm

 at the time [he] w[as] writing this paper and for [his] work on that paper.”75



 73
       (Ex. B to Campion Rep. at 8.)
 74
       (Campion Dep. 165:4-20; id. 200:4-9.)
 75
       (Campion Dep. 165:4-20; id. 168:14-19.)

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       In sum, not only was Dr. Campion’s brand-new opinion with regard to the

 application of Raman spectroscopy to talc effectively bought by plaintiffs’ counsel,

 but the authors hid that important fact from the public domain and the individuals

 who peer-reviewed the paper on which that opinion is based. Under these

 circumstances, Dr. Campion’s opinion cannot be deemed sufficiently credible to

 pass muster under Daubert. For this reason, too, the Court should exclude Dr.

 Campion’s opinion.

       B.     Dr. Zambelli-Weiner’s Opinions Are Rank Speculation.

       Dr. Zambelli-Weiner’s opinion that the FDA’s petition denial was unduly

 influenced by the 2009 report and 2003 and 2007 Huncharek studies is unreliable

 because it is pure speculation. See, e.g., Rheinfrank v. Abbott Labs., Inc., 680 F.

 App’x 369, 388 (6th Cir. 2017) (refusing to countenance a “series of speculations

 as to what the FDA could have done with different evidence that Abbott might

 have collected if it had run its own studies”).76 Dr. Zambelli-Weiner has no


 76
        See also In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531, 550 n.62
 (S.D.N.Y. 2004) (“To the extent that Dr. Tolman’s testimony relates to disclosures
 to the FDA or speculation as to what FDA might have done in hypothetical
 circumstances, it is excluded . . . .”); Webster v. Pacesetter, Inc., 259 F. Supp. 2d
 27, 37 (D.D.C. 2003) (plaintiffs cannot “speculat[e] that if the FDA had known of
 the delayed perforation and tamponade incidents during the clinical trials and if
 defendant had investigated all the adverse incidents, the FDA would have either
 recalled the lead or placed it on alert, and therefore, Dr. Lewis would not have
 implanted it in plaintiff’s heart” because such an “approach would be nothing more
 than an invitation for the jury to speculate about what both the FDA and Dr. Lewis
 might do if the facts were different”).

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 particular knowledge of how the FDA’s review process actually unfolded and does

 not purport to have reviewed testimony or documents (other than the FDA Denial

 Letter itself) setting forth the materials considered in denying the petition.77

 Indeed, she concedes that she does not “know the inner workings of who reviewed

 what as part of [the petition denial]” and “can’t say what exactly [the FDA]

 reviewed and what weight they gave to any particular piece of evidence” when

 considering materials for the Citizen’s Petition.78 And since she does not know

 how, if at all, the FDA weighed the 2009 report and 2003 and 2007 Huncharek

 studies, she admits that she cannot conclude that the FDA’s conclusion would have

 been any different without them.79

       Instead, her central contention that the FDA placed undue weight on the

 2009 report (and by extension the 2003 and 2007 Huncharek studies) appears to be

 77
        Even if she had conducted such a review, Dr. Zambelli-Weiner, who is an
 epidemiologist, not a regulatory expert, would not be qualified to opine about the
 FDA’s process, and the jury would be equally capable of reviewing such materials,
 if they existed. (See Zambelli-Weiner Rep. at 5-6; Zambelli-Weiner Dep. 109:9-12
 (“Q: You’re not an FDA expert, correct? A: I am not – correct, I am not a
 regulatory expert.”) (objection omitted).)
 78
        (Zambelli-Weiner Dep. 124:1-12, 170:7-8, 179:5-7; id. 124:1-12, 169:24-
 170:25 (admitting that she did not know the process at the FDA for reviewing or
 responding to the Citizen’s Petition, who at the FDA relied on the 2003 and 2007
 Huncharek studies or on which specific parts of the studies the FDA might have
 relied); id. 171:4-19, 178:25-179:8 (testifying that she did not know how much
 weight the FDA placed on the 2003 and 2007 Huncharek studies, the extent or
 nature of the FDA’s reliance on them or what else the FDA relied on).)
 79
       (Zambelli-Weiner Dep. 180:10-19 (admitting that she could not “say that
 any particular outcome would have been different”).)

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 based mostly on the fact that the 2009 report “was the only comment received by

 the FDA in response to the Citizen’s Petition.”80 This is a massive inferential leap

 that is flatly contradicted by the FDA’s letter, which stated, among other things,

 that the FDA conducted its own “expanded literature search dating from the filing

 of the petition in 2008 through January 2014.”81 See Ortiz v. Yale Materials

 Handling Corp., No. CIV 03-3657FLW, 2005 WL 2044923, at *9-10 (D.N.J. Aug.

 24, 2005) (Wolfson, J.) (excluding expert whose opinions were ipse dixit and who

 relied on a study that “actually support[ed] [the] [d]efendant’s position”).82 Finally,

 to the extent Dr. Zambelli-Weiner’s argument is that “[a]ny” reliance on the 2009

 report and 2003 and 2007 Huncharek studies invalidates all of the FDA’s

 determinations, this is inadmissible ipse dixit as well, since she provides no

 methodology for concluding that the FDA’s entire analysis is void based on next to




 80
       (Zambelli-Weiner Rep. at 8, 36.)
 81
       FDA Denial Letter at 6.
 82
         Although Dr. Zambelli-Weiner additionally argued at her deposition that
 heavy reliance on the 2009 Huncharek and Muscat report is demonstrated by the
 fact that “a lot of the language and arguments and positions that were proffered in
 [it] are echoed in FDA’s denial letter” (Zambelli-Weiner Dep. 170:15-25), these
 observations also amount to mere conjecture (and non-expert conjecture at that) in
 light of her repeated concessions that she has essentially no knowledge of the
 FDA’s process other than what is described in the FDA Denial Letter.

                                           31
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 no knowledge about how it was conducted. For this reason, too, her opinions

 should be excluded under Daubert.83

 III.   ALL OF DR. KESSLER’S OPINIONS AND MANY OF DR.
        PLUNKETT’S NON-CAUSATION OPINIONS SHOULD BE
        EXCLUDED BECAUSE THEY ARE NOT THE SUBJECT OF
        PROPER EXPERT TESTIMONY.

        A.    Drs. Kessler And Dr. Plunkett’s Regulatory Opinions Amount To
              Improper Legal Conclusions That Are Not The Proper Subject Of
              Expert Testimony.
        Separate and apart from their irrelevance, Drs. Kessler and Plunkett’s

 opinions are also inadmissible because they both offer improper legal opinions.

        “Although Federal Rule of Evidence 704 permits an expert witness to give

 expert testimony that ‘embraces an ultimate issue to be decided by the trier of fact,’

 an expert witness is prohibited from rendering a legal opinion.” Flickinger v. Toys

 “R” Us-Del., Inc., 492 F. App’x 217, 224 (3d Cir. 2012) (citations omitted). “This

 prohibition on experts testifying as to their own legal conclusions is ‘so well

 established that it is often deemed a basic premise or assumption of evidence of

 law—a kind of axiomatic principle’” that has been adopted by “every circuit.”

 Holman Enters. v. Fid. & Guar. Ins. Co., 563 F. Supp. 2d 467, 472 (D.N.J. 2008)

 (citations omitted). As the Third Circuit has explained, such opinions “interfere


 83
        Dr. Zambelli-Weiner’s opinions are notably at odds with those of plaintiffs’
 other experts, who pick and choose portions of the FDA Denial Letter (in
 particular, its statement about the ability of talc to migrate to the ovaries) that they
 claim support their opinions.

                                            32
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 with the district court’s ‘pivotal role in explaining the law to the jury.’” Patrick v.

 Moorman, 536 F. App’x 255, 258 (3d Cir. 2013) (quoting Berckeley Inv. Grp., Ltd.

 v. Colkitt, 455 F.3d 195, 217 (3d Cir. 2006)). Moreover, “[e]xpert testimony is an

 improper mechanism for offering legal arguments to the [c]ourt . . . [because it]

 would be unfair to [one party] for the [c]ourt to award [the opposing party’s] legal

 arguments the elevated stamp of expert.” Fisher v. Halliburton, No. H-05-1731 et

 al., 2009 WL 5216949, at *2 (S.D. Tex. Dec. 21, 2009) (citation omitted).

       Both Drs. Plunkett and Kessler have been previously barred from offering

 legal opinions at trial based on these same principles. Most recently, a court

 presiding over talcum powder cases in California barred Dr. Plunkett from opining

 that talc-based powders should have been labeled to warn of certain risks,

 recognizing that this was an impermissible legal opinion. Plunkett Echeverria

 Ruling at 6 (“Dr. Plunkett is also precluded from opining that talc based powder

 should have been labelled to warn of the risks” because such an opinion is an

 improper “legal opinion.”). Likewise, the court in Newman precluded Dr. Plunkett

 from testifying about “what reporting requirements [d]efendants had under FDA

 regulations and whether [d]efendants met them,” noting that much of her testimony

 “consists of quoted portions of the [FDA] regulations themselves or descriptions of

 what the regulations require,” which was “unnecessary,” and risked jurors




                                           33
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 “mistakenly conclud[ing] that her opinion or conclusion is the law.” 2013 WL

 9936293, at *5.

         Similarly, in a federal antitrust case involving allegations that the defendant

 paid generic manufacturers to delay marketing of generic equivalents to the

 defendant’s immunosuppressant drug, a federal court held that Dr. Kessler could

 not testify as to numerous legal conclusions, including that the defendant’s

 submission to the FDA “violated the law, constituted fraud on the FDA, or was

 otherwise improper” and that the defendant’s requested “labeling change . . . would

 violate the law.” In re Prograf, 2014 WL 7641156, at *1-2. As the court

 explained, Dr. Kessler could not testify regarding his “interpretation of the relevant

 laws and regulations or the law of fraud more generally” because he did not

 possess the necessary expertise and because such testimony would be unfairly

 prejudicial under Federal Rule of Evidence 403. Id. at *2. The court also went on

 to explain that such testimony would not constitute proper expert testimony,

 regardless of Dr. Kessler’s qualifications: “Dr. Kessler is not—and, indeed, cannot

 be—a legal expert. It is for the court alone to instruct the jury on what the law is.”

 Id.84


 84
        Numerous other courts have similarly excluded expert opinions that contain
 legal conclusions on the ground that they constitute impermissible expert
 testimony. See, e.g., Flickinger, 492 F. App’x at 224 (district court properly
 excluded opinions in premises liability action regarding “dangerous condition” and
 “negligence,” which are “legal terms of art that courts commonly hold cannot be
                                            34
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         Even assuming Drs. Kessler and Plunkett’s regulatory opinions had any

 pertinence to the fundamental question of causation, their testimony would still

 flout these rudimentary standards, providing independent grounds for exclusion.

 This is so because Dr. Kessler seeks to opine on a number of legal topics, including

 the “regulatory standards for cosmetics” and whether the J&J defendants complied

 with those standards.85 For example, according to Dr. Kessler, the J&J defendants

 violated regulatory and industry standards by failing to “substantiate the safety of

 their talcum powder products.”86 Relying on various FDA regulations, Dr. Kessler

 asserts that “if there is a reasonable basis for an association between talcum

 powder products and ovarian cancer, a warning about increased risks of ovarian

 cancer needed to be made.”87 And Dr. Kessler likewise claims that “if asbestos or

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 the subject of expert testimony”); Holman, 563 F. Supp. 2d at 472 (“Saulino’s
 report is replete with legal conclusions and speculations that ultimately render his
 entire report deficient.”); FedEx Ground Package Sys., Inc. v. Applications Int’l
 Corp., 695 F. Supp. 2d 216, 221-23 (W.D. Pa. 2010) (excluding expert’s legal
 opinions; “[a] significant portion of Dr. Shamos’ report references case law and
 federal statutes, and an entire section of the report sets forth exactly what its
 heading indicates, ‘Legal Principles’”).
 85
         (Kessler Rep. ¶¶ 13-19; id. ¶¶ 40, 64-74.)
 86
         (Id. ¶¶ 64-65.)
 87
        (Id. ¶ 70.) Dr. Kessler’s so-called expert opinion on these points should be
 excluded for the additional reason that it consists of little more than a verbatim
 regurgitation of selective quotations from the IARC asbestos monograph. This is
 not a proper expert opinion because Dr. Kessler does not have the expertise
 necessary to independently evaluate IARC’s conclusions. “A scientist, however
 well credentialed he may be, is not permitted to be the mouthpiece of a scientist in
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 asbestiform fibers (fibrous talc) were found in talcum powder products, talcum

 powder products would be adulterated under the Federal Food Drug and Cosmetics

 Act.”88

         Dr. Plunkett likewise delves into specific FDA regulations (e.g., 21 C.F.R. §

 740.1), juxtaposing the requirements applicable to cosmetic manufacturers with

 those that govern drug manufacturers.89 Dr. Plunkett states that “unlike drugs,

 cosmetics are expected to carry warnings based on a standard of a possibility of

 health hazard, not on having evidence of a causal association between a health

 effect and the cosmetic product or ingredient.”90 And according to Dr. Plunkett,

 the J&J defendants’ talcum powder products should have contained an ovarian

 cancer warning given the risk that “ovarian cancer may be associated with the use

 of” such products.91

         In short, “[i]t is for the court alone to instruct the jury on what the law is.”

 In re Prograf, 2014 WL 7641156, at *2. Accordingly, Drs. Kessler and Plunkett’s




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 (cont’d from previous page)
 a different specialty.” Dura Auto. Sys. of Ind., Inc. v. CTS Corp., 285 F.3d 609,
 614 (7th Cir. 2002).
 88
         (Kessler Rep. ¶ 72.)
 89
         (See Plunkett Rep. ¶ 22.)
 90
         (Id. (emphases added).)
 91
         (Id. ¶¶ 105-06.)

                                             36
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 legal opinions should be excluded under Daubert.92

       B.     Drs. Kessler And Plunkett’s Factual Narratives Are Also Not
              Proper Expert Testimony.

       Drs. Kessler and Plunkett’s opinions also do not constitute proper expert

 testimony to the extent they are based on a review of documents that jurors are

 equally capable of assessing. See, e.g., Bracco, 627 F. Supp. 2d at 441-42

 (explaining that experts may not “simply summarize the facts and the depositions

 of others”; “to the extent that [expert’s] testimony reflected no more than his

 summary of, and spin on, internal GEH documents, the Court finds that such

 testimony is unhelpful to the Court as the trier of fact and excludes such testimony

 from the record”) (quoting Crowley v. Chait, 322 F. Supp. 2d 530, 553 (D.N.J.

 2004)); Jeasonne v. Sutherland Bldg. Material Ctrs., L.P., No. 12-1905, 2013 U.S.

 Dist. LEXIS 130046, at *6-7 (W.D. La. Sept. 11, 2013) (“the court finds that

 defendants’ Daubert motion should be granted as to Howard’s proposed expert

 report” because the opinions “simply summarize the evidence which will be

 presented to the jury”); In re Prempro Prods. Liab. Litig., 554 F. Supp. 2d 871,

 887 (E.D. Ark. 2008) (“simply summariz[ing] a document (which is just as easily

 summarized by a jury) with a tilt favoring a litigant, without more, does not

 92
        Dr. Plunkett’s regulatory opinions are all the more impermissible since they
 far outstrip her expertise. As the Echeverria court recognized, “although she may
 have taken courses on FDA matters and give[s] advice on same, she is not
 qualified to opine as to FDA regulations or their applicability to labeling.”
 Plunkett Echeverria Ruling at 6.

                                          37
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 amount to expert testimony”), aff’d in part, rev’d in part, 586 F.3d 547 (8th Cir.

 2009). Such testimony must be excluded because it “comes ‘dangerously close to

 usurping the [factfinder’s] function’ and ‘implicates Rule 403 as a needless

 presentation of cumulative evidence and a waste of time.’” Bracco, 627 F. Supp.

 2d at 441 (quoting Crowley, 322 F. Supp. 2d at 553). This is so because plaintiffs’

 factual case should be “presented through introduction of documents or non-expert

 testimony,” and not expert testimony that simply “regurgitat[es] factual

 information” with the false imprimatur of some special knowledge on the subject.

 Pritchett v. I-Flow Corp., No. 09-cv-02433-WJM-KLM, 2012 WL 1059948, at *7

 (D. Colo. Mar. 28, 2012); see also, e.g., XpertUniverse, Inc. v. Cisco Sys., Inc., No.

 09-157-RGA, 2013 WL 865974, at *3 (D. Del. Mar. 7, 2013) (“To the extent his

 opinions constitute the unfiltered regurgitation of what other people told him . . .

 the ‘expert’ testimony adds nothing and therefore is not helpful to a jury.”); Dep’t

 of Toxic Substances Control v. Technichem, Inc., No. 12-cv-05845-VC, 2016 U.S.

 Dist. LEXIS 33379, at *2 (N.D. Cal. Mar. 15, 2016) (expert evidence was

 inadmissible under Rule 702 because “[w]hen he is not simply speculating, Dr.

 Everett often does no more than regurgitate information given to him by other

 sources”).

       Dr. Kessler’s report largely “regurgitat[es] factual information” and

 packages it as expert opinion. For example, in a section titled “Defendants’


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 statements that cosmetic manufacturers have responsibility to substantiate the

 safety of their product,” Dr. Kessler simply quotes at length from various internal

 company documents and prior testimony that any lay juror could easily understand

 for him or herself:

            • “In a June 24, 2003 PowerPoint Johnson & Johnson stated that
              Johnson’s Baby products are ‘assessed for safety based on the
              intended use.’”93

            • “The same PowerPoint continued, ‘Our baby products are composed
              of a variety of ingredients obtained from reputable trusted suppliers.
              We hold these suppliers to high standards of material safety, purity
              and quality based on our best for baby standards.’”94

            • “In a June 1, 2010, PowerPoint presentation . . . then Senior Product
              Director,”95 wrote that “[a]ll final baby product formulations are
              comprehensively assessed for safety . . . Johnson’s Brand is
              responsible for the ethical management of health, safety, and
              environmental aspects of our products through their total lifecycle.”96

            • “On October 15, 2012, Lorena Telofski testified on behalf of
              Johnson & Johnson that Johnson & Johnson goes ‘through a process
              to substantiate safety for the present use. If it doesn’t meet the
              threshold of safety for present use, it is not going to go on the
              market.’”97

       Nowhere in these verbatim quotations of straightforward statements does Dr.

 Kessler engage in any expert analysis. Instead, he simply “regurgitat[es] factual

 93
       (Kessler Rep. ¶ 44 (quoting JNJTALC000777136).)
 94
       (Id. ¶ 46 (quoting JNJ000367483).)
 95
        (Id. ¶ 47.)
 96
       (Id. ¶ 47 (alteration in original) (quoting JNJ000438939-41).)
 97
       (Id. ¶ 49 (citation omitted).)

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 information” that falls well outside the proper scope of expert testimony and

 should therefore be excluded. Pritchett, 2012 WL 1059948, at *7; see also In re

 Prempro, 554 F. Supp. 2d at 887.

       Dr. Plunkett similarly devotes a significant portion of her report to offering

 her advocacy-based interpretation of record evidence. In particular, she attempts to

 describe what various “[d]ocuments show” about the actions of defendants taken at

 various points in time and defendants’ motivations for taking those actions.98

       For example, in attempting to describe the J&J defendants’ supposed

 “efforts to influence the science around the issue of asbestos in talc and the link of

 talc with ovarian cancer,”99 Dr. Plunkett simply quotes from a decades-old

 statement made by a Johnson & Johnson employee to the then-FDA Commissioner

 stating, “Our very preliminary calculation indicates that substantial asbestos can be



 98
        (Plunkett Rep. ¶ 78 (“[I]n the 1970s, documents show that Johnson &
 Johnson made efforts to influence the science around the issue of asbestos in talc
 and the link of talc with ovarian cancer.”) (citing P-0055; P-0344; P-0002); id. ¶ 83
 (“Publicly available documents show that PCPC has been intimately involved with
 talc safety issues over the period from the early 1970s up to today”) (citation
 omitted); id. ¶ 93 (testifying about supposed “influence” defendants exerted on the
 National Toxicology Program based on her “review of the depositions and
 documents”); id. ¶ 95 (“Deposition testimony and documents show that, in the
 context of my opinions that industry undertook significant efforts to influence
 regulatory bodies and the science concerning the safety assessment of talcum
 powder products, the Center for Regulatory Effectiveness (CRE) played an
 important role.”).)
 99
       (Id. ¶ 78.)

                                           40
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 allowed safely in a baby powder.”100 Dr. Plunkett goes on to quote additional

 statements from the same document, including the assertion that “if the results of

 any scientific studies show any questions of safety [regarding] talc, Johnson &

 Johnson will not hesitate to take it off the market.”101 But Dr. Plunkett provides no

 expert analysis with respect to the purported “influence” that the multiple

 quotations supposedly evince, confining her “opinions” to her subjective

 interpretation of the record evidence. She is simply trying to use her status as an

 “expert” to lend more credence to plaintiffs’ counsel’s theories and arguments.

       For these reasons, too, Drs. Kessler and Plunkett’s opinions should be

 excluded under Rule 702.

       C.     Dr. Plunkett’s Opinions Regarding Defendants’ State Of Mind Do
              Not Constitute Admissible Expert Evidence.

       Dr. Plunkett’s opinions are separately inadmissible to the extent they seek to

 divine defendants’ state of mind – i.e., their supposed knowledge of the alleged

 ovarian cancer risk and their purported goals and motivations.

       This Court has recognized that “experts cannot opine on intent.” Bracco,

 627 F. Supp. 2d at 440 (striking expert who “purported to divine what [the

 defendant] was ‘trying’ to do with its marketing strategy and what it believed was

 right or wrong”). Judge Simandle has similarly held that “experts may not provide

 100
       (Id. (quoting P-0660).)
 101
       (Id. (emphasis omitted) (quoting P-0660).)

                                          41
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 testimony concerning ‘the state of mind’ or ‘culpability’ of [d]efendants” because

 “the question of intent constitutes a ‘classic jury question and not one for experts.’”

 Krys v. Aaron, 112 F. Supp. 3d 181, 203 (D.N.J. 2015) (citations omitted).

 Consistent with these principles, courts regularly preclude experts from offering

 opinions as to intent or motive. See, e.g., id. at 205 (“Defendants’ motion will be

 granted to the extent it seeks to exclude Mr. Vinella’s testimony concerning

 [d]efendants’ state of mind (by, for example, testifying that [d]efendants acted

 ‘willfully’ or ‘knowingly’) . . . .”); In re Tylenol (Acetaminophen) Mktg., Sales

 Practices & Prods. Liab. Litig., 181 F. Supp. 3d 278, 294 (E.D. Pa. 2016)

 (excluding expert testimony about the defendants’ “corporate state of mind”

 because it could invade the province of the jury and/or offer inappropriate legal

 conclusions); Bartoli v. Novartis Pharm. Corp., No. 3:13-0724, 2014 WL 1515870,

 at *5 (M.D. Pa. Apr. 17, 2014) (holding that plaintiff’s expert “may not opine on

 whether [defendant] acted in good faith or otherwise opine as to [defendant]’s

 intent or motivations”); Wolfe v. McNeil-PPC, Inc., 881 F. Supp. 2d 650, 661-62

 (E.D. Pa. 2012) (excluding “expert testimony regarding the state of mind of

 defendants and the FDA”; “[i]ntent is not a proper subject for expert testimony”)

 (citation omitted).

       The Echeverria ruling is once again instructive. There, Dr. Plunkett sought

 to testify that “defendants downplayed the risks of talc and actively determined not


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 to tell consumers of them.”102 As the court recognized, “[t]his testimony [was]

 based solely on reading documents . . . and then opining as to the mental state of

 individuals in the corporation.” Id. “This is not permissible,” the court explained,

 because “expert testimony is not needed on this subject.”103 Rather, “[t]he jury

 c[ould] be instructed as to the applicable law,” and “plaintiff c[ould] put in

 evidence those documents and testimony that show corporate activity and may

 argue from that.”104

       The same is true here. Just as she tried to do in Echeverria, Dr. Plunkett

 seeks to divine defendants’ state of mind by opining on what the J&J defendants

 knew about the purported risks posed by talc and when they knew it.105 She also

 speculates about defendants’ intentions and motivations. For example, Dr.

 Plunkett claims that “[d]ocuments from” the 1970s “show that the goal was to
 102
       Plunkett Echeverria Ruling at 6.
 103
       Id. at 6-7.
 104
       Id. at 7. See also Strum, 2013 WL 3242715, at *1 (excluding Plunkett’s
 testimony “relating to [d]efendant’s state of mind, motives and intent”).
 105
        (See, e.g., Plunkett Rep. ¶ 77 (“Johnson & Johnson knew or should have
 known that use of cosmetic talc body powders had been reported to lead to lung
 injury when talc was inhaled . . .”); id. ¶ 106 (“A review of internal company
 documents . . . shows that talc ingredient manufacturers and the manufacturers of
 talcum powder products were following the published literature and were also
 intimately involved in the safety assessments of talc over the years. . . . Thus, the
 defendants were at least aware for decades that ovarian cancer may be associated
 with the use of talcum powder products.”); id. ¶ 112 (providing a bulleted
 summary of internal company documents that “support [Plunkett’s] opinions that
 defendants were aware that talcum powder products may be associated with a
 health hazard”).)

                                           43
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 mount a defense strategy around talc and to ensure that the products continued to

 be sold without regulation.”106 And once again, based solely on her “review of the

 depositions and documents,” Dr. Plunkett seeks to opine that “there is evidence

 that industry had no interest in sponsoring any new research or did not want to

 spend the money on such research.”107

       “[R]eading documents . . . and then opining as to the mental state of

 individuals in the corporation,” is “not permissible” expert testimony.108 For this

 reason, too, Dr. Plunkett’s opinions should be excluded under Rule 702 and

 Daubert.

                                   CONCLUSION

       For the foregoing reasons, the J&J defendants respectfully request that the

 Court exclude Drs. Campion, Zambelli-Weiner and Kessler’s opinions in full, and

 all of Dr. Plunkett’s non-causation-related opinions.




 106
       (Id. ¶ 93 (emphasis added) (citing P-57; P-86; P-87; P-88; P-90; P-20).)
 107
       (Id.)
 108
       Plunkett Echeverria Ruling at 6-7.

                                          44
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 Dated: May 7, 2019                  Respectfully submitted,

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